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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    TRACI BROWN,

                  Plaintiff,

          v.                                          Civil Action No. 17-2101 (RDM)

    ALLIED HOME MORTGAGE CAPITAL
    CORP., et al.,

                  Defendants.


                               MEMORANDUM OPINION AND ORDER

         Plaintiff Traci Brown, proceeding pro se, commenced this action and another nearly

identical action in the Superior Court for the District of Columbia against several banking and

mortgage institutions, seeking damages and injunctive relief relating to an allegedly “predatory”

loan agreement and other allegedly unlawful practices. 1 See Dkt. 1-1; Brown v. Americus Mort.

Corp., No. 17-cv-2102, ECF No. 1-1. Both cases were removed to this Court, and, pursuant to

Federal Rule of Civil Procedure 42(a), the Court consolidated the two actions. See Minute Order

(Dec. 5, 2017).

         Presently before the Court are Brown’s motion to remand, Dkt. 16, and Defendants

Nationstar Mortgage LLC, MetLife Inc., MetLife Home Loans LLC, MetLife Bank, N.A., and

First Tennessee Bank National Association’s (“Nationstar Defendants’”) motion to dismiss, Dkt.

12. Brown contends that the cases were improperly removed because the removal petition in

Civil Action No. 17-2101 was not timely filed, Dkt. 16 at 4–7, and because the removing

defendants failed to obtain the consent of the other defendants in either case, id. at 7–9. The



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    For ease of reference, the Court will simply refer to “the complaint” unless otherwise noted.
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Nationstar Defendants oppose the motion, Dkt. 21, and contend that the cases should be

dismissed for a variety of reasons, including for lack of standing because Brown filed for

Chapter 7 bankruptcy in 2009 without disclosing her potential, pre-petition claims, Dkt. 12-1 at

13–14. In their view, that omission means that any such causes of action remain the property of

the bankruptcy estate and, as a result, Brown lacks standing to pursue them. Id.

       For the reasons explained below, the Court is unpersuaded by Brown’s contention that

the removing defendants failed to comply with the procedural requirements of 28 U.S.C.

§ 1446(b) and thus declines to remand the actions. In contrast, the Court agrees with the

Nationstar Defendants that Brown lacks standing to pursue her pre-petition claims. Brown, for

her part, does not meaningfully dispute that contention, but requests that the Court stay the

consolidated action to allow her to seek appropriate relief in the bankruptcy court. The Court

will grant her a limited period of time to attempt to do so and will, accordingly, stay the action

until further order of the Court and will direct that Brown file a status report with the Court every

60 days regarding the status of the bankruptcy court proceeding. Finally, the Court notes that

Brown contends that some of her claims relate to post-petition conduct. Defendants correctly

observe that the complaint, as currently pled, fails to set forth any such distinct claims with

sufficient clarity to satisfy Federal Rule of Civil Procedure 8(a). The Court will postpone

addressing how best to address that deficiency, however, until after Brown has had the

opportunity to seek relief in the bankruptcy court proceeding.

                                        I. BACKGROUND

       For purposes of the pending motions to dismiss for lack of jurisdiction, the Court takes

the allegations of the complaint as true but also considers the “undisputed facts evidenced in the

record” relating to Brown’s standing. Herbert v. Nat’l Acad. of Scis., 974 F.2d 192, 197 (D.C.



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Cir. 1992); see also Arora v. Buckhead Family Dentistry, Inc., 263 F. Supp. 3d 121, 126 (D.D.C.

2017); Achagzai v. Broad. Bd. of Governors, 170 F. Supp. 3d 164, 173 (D.D.C. 2016).

       Although the complaint is not entirely clear, it appears to allege that Brown obtained a

home mortgage loan from First Horizon Home Loan Corporation (“First Horizon”) in July 2004

and that First Horizon was owned by First Tennessee Bank National Association (“First

Tennessee”) at that time. Dkt. 1-1 at 3. She further alleges that her mortgage broker, Allied

Home Mortgage Capital Corporation, “referred” her to First Horizon, id. at 4–5, and that she

entered into a loan modification in 2015, id. at 23. A number of intervening acquisitions and

transfers further complicate matters. According to the complaint, First Tennessee sold First

Horizon to MetLife Bank, N.A. (“MetLife”) in 2008, and, in 2012, MetLife sold its banking unit

to G.E. Capital and its mortgage servicing business to JPMorgan Chase. Id. at 3. But, even

before MetLife sold its mortgage servicing business to JPMorgan Chase, yet another company,

Nationstar Mortgage Company, began servicing the loan. Id. Brown concedes that she defaulted

on the loan in 2015. Id. at 24.

       Brown alleges that the loan was a “predatory and toxic subprime loan;” that Defendants

made “false representation[s]” and failed to disclose material information in order to “induce”

her to “accept” an adjustable rate mortgage; and that Defendants “steered” her toward the

subprime loan even though she would have qualified for a “prime loan” at the time. Id. at 7. She

further alleges that Defendants’ unlawful conduct continued over a period of eleven years; that

she received “erroneous mortgage statements;” that she was “repeatedly assessed improper and

excessive late fees;” and that she was repeatedly provided false or incomplete information. Id. at

20–21, 30. Much of this conduct, she further alleges, was the product of racial discrimination.

Id. at 35–36.



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       In December 2009, Brown filed a petition for voluntary Chapter 7 bankruptcy in the U.S.

Bankruptcy Court for the District of Columbia. See Dkt. 12-2. In the required Summary of

Schedules, she recorded $601,224.00 in total assets and $1,060,233.73 in total liabilities. Id. at

2. As relevant here, “Schedule B” instructed Brown to list “contingent and unliquidated claims

of every nature,” and Brown indicated that she had none. Id. at 5. After the initiation of this

lawsuit, Brown sought, and was granted, leave to reopen her bankruptcy proceedings. See Dkt.

28; Dkt. 29. Brown has since amended her Summary of Schedules to include her interest in the

current lawsuit, Dkt. 30 at 17, but no further action has yet occurred in the bankruptcy court.

       On May 26, 2017, Brown filed her original complaint in D.C. Superior Court, seeking

damages from First Horizon, First Tennessee, and a number of other allegedly related banking

and mortgage institutions. Dkt. 1-1. She also filed an Application for a Temporary Restraining

Order and Motion for a Preliminary Injunction. See Dkt. 1-2 at 96. The D.C. Superior Court

referred Brown’s case to mediation, where the parties reached a consent agreement under which

Brown agreed to dismissal of her pending applications for a temporary restraining order and

preliminary injunction. Id. Following the mediation, on June 15, 2017, the Superior Court

dismissed Brown’s case “in its entirety without prejudice,” but all agree that it did so in error.

Id. In response, Brown moved to reopen the case and sought leave to amend her complaint, and

she simultaneously filed her proposed amended complaint as a new action, naming two

additional defendants. Dkt. 9 at 2; see also Dkt. 1-2 at 28; Brown, No. 17-cv-2102, ECF No. 1-1.

       On October 3, 2017, the Superior Court reopened Brown’s first action. See Dkt. 96. A

week later, the Nationstar Defendants removed both the first and second actions to this Court.

See Dkt. 1; Brown, No. 17-cr-2102, ECF No. 1. Because the actions were removed before the

Superior Court had the opportunity to act on Brown’s motion for leave to amend, the operative



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complaints remain the initial complaint filed in the first action and the complaint, adding the

additional defendants, filed in the second action. In all respects relevant to this motion, the

operative complaints are identical. Those complaints allege claims under the Fair Housing Act,

42 U.S.C. § 3601 et seq.; the Equal Credit Opportunity Act, 15 U.S.C. § 1691 et seq.; the Civil

Rights Act of 1866, 42 U.S.C. §§ 1981, 1982; the Truth in Lending Act, 15 U.S.C. § 1601 et

seq.; the Federal Home Ownership and Equity Protection Act, 15 U.S.C. § 1639 et seq.; the

Federal Fair Debt Collection Act, 15 U.S.C. § 1692 et seq.; the Real Estate Settlement

Procedures Act, 12 U.S.C. § 2601 et seq.; the Home Mortgage Disclosure Act, 12 U.S.C. § 2801

et seq.; the D.C. Mortgage Lender and Broker Act, D.C. Code § 26–1101 et seq.; the D.C.

Consumer Protection Procedure Act, D.C. Code § 28–3901 et seq.; the D.C. Human Rights Act,

D.C. Code § 1–2501 et seq.; and D.C. common law, Dkt. 1-1 at 11–39; Brown, No. 17-cv-2102,

ECF No. 1-1 at 13–39.

       After the actions were removed, Brown moved to consolidate the cases, Dkt. 9, and the

Court granted her motion after Defendants were given an opportunity to respond, see Minute

Order (Dec. 5, 2017). The Nationstar Defendants then moved to dismiss, arguing that Brown’s

claims are untimely because she entered into the loan agreement in 2004; that Brown lacks

standing because she filed for bankruptcy after her claims, if any, accrued; and that Brown’s

complaints fail to state a claim upon which relief can be granted. 2 See Dkt. 12. Brown, in turn,

opposed that motion, Dkt. 23, and moved to remand on three grounds: (1) the removal petition in




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  Brown has voluntarily dismissed her claims against Synchrony Bank, JPMorgan Chase Bank
N.A., GE Capital Mortgage Corporation (d.b.a.) Goldman Sachs Bank USA (GB Bank),
Goldman Sachs Bank USA (GB Bank) f/k/a, GE Capital Mortgage Corporation, and GE Capitol
doing business as Goldman Sachs Bank, pursuant to Federal Rule of Civil Procedure 41. Dkt.
18; Dkt. 27; Dkt. 22 at 4.
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Civil Action 17-2101 was not timely; (2) all of the named defendants did not consent to removal;

and (3) the D.C. Superior Court has concurrent jurisdiction to hear the case. See Dkt. 16.

                                         II. ANALYSIS

A.     Motion to Remand

       A defendant may remove a case to federal court if the federal court has original

jurisdiction over the matter. 28 U.S.C. § 1441(a). Here, there is no question that this Court has

subject matter jurisdiction over Brown’s claims, the vast majority of which arise under federal

law. See 28 U.S.C. § 1331; see also 28 U.S.C. § 1367 (supplemental jurisdiction over state law

claims). The fact that the state court—or, here, the D.C. Superior Court—might have concurrent

jurisdiction over some or all of those claims is of no moment; if the federal court has subject-

matter jurisdiction, and if Congress has not expressly precluded removal, the defendant may

elect to litigate in the federal forum. See Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S.

691, 697–98 (2003); 14B Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 3721 at 2–3 (4th ed. 2009) [hereinafter Wright & Miller].

       Brown also contends that the Nationstar Defendants’ removal was procedurally defective

for two reasons: First, they did not remove Civil Action No. 17-2101 within 30 days of their

receipt of “a copy of the initial pleading” by “service or otherwise,” as required by 28 U.S.C.

§ 1446(b)(1). Second, not all of the named defendants joined in or consented to the removal, as

required by 28 U.S.C. § 1446(b)(2). As explained below, the Court is unpersuaded.

       Civil Action No. 17-2102 was undeniably removed within 30 days. That action was filed

in Superior Court on September 12, 2017, Brown, No. 17-cv-2102, ECF No. 1-1 at 1

(Complaint), and was removed 28 days later, on October 10, 2017, Brown, No. 17-cv-2102, ECF

No. 1 (Notice of Removal). The circumstances surrounding the removal of Civil Action No. 17-

2101, however, are more complicated. The Nationstar Defendants do not dispute that more than
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30 days passed between the time they received the complaint by “service or otherwise” and the

time they removed the action. That, however, does not resolve the matter, because the action

was dismissed without prejudice on June 15, 2017—20 days after it was commenced. See Dkt.

1-1 at 2; Dkt. 1-2 at 96. The Superior Court subsequently concluded that the June 15 order was

entered in error and that it had not intended “to resolve any dispute regarding monetary

damages.” Dkt. 1-2 at 96. Accordingly, on October 3, 2017, the Superior Court vacated its

order of dismissal and reinstated the case. Id. Seven days later, the Nationstar Defendants

removed the action to this Court. Dkt. 1. Thus, even assuming that the Nationstar Defendants

were served or otherwise received the complaint on the day it was filed, only 27 days elapsed

between that time and the time of removal, if the Court tolls the period of time during which the

action had been dismissed. The timeliness of the removal petition, accordingly, turns on the

question of whether the Court can, and should, toll that period of time.

       As an initial matter, the Court has no doubt that it may toll the period of time the Superior

Court action was dismissed. “[A] procedural defect in removal . . . does not affect the federal

court’s subject matter jurisdiction.” Ficken v. Golden, 696 F. Supp. 2d 21, 26 (D.D.C. 2010)

(quoting Koehnen v. Herald Fire Ins. Co., 89 F.3d 525, 528 (8th Cir. 1996)); see also Music v.

Arrowood Indem. Co., 632 F.3d 284, 287 (6th Cir. 2011); Farina v. Nokia Inc., 625 F.3d 97, 114

(3d Cir. 2010); Fristoe v. Reynolds Metals Co., 615 F.2d 1209, 1212 (9th Cir. 1980) (citing

Grubbs v. General Elec. Credit Corp., 405 U.S. 699, 702–04 (1972)). And, because the

procedural requirements for removal are not jurisdictional, and because the 30-day window is

analogous to a statute of limitations, the presumption in favor of equitable tolling is applicable.

Cf. Holland v. Florida, 560 U.S. 631, 645–46 (2010); Young v. United States, 535 U.S. 43, 49




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(2001); see also Wright & Miller § 3731 at 579; United Comput. Sys., Inc. v. AT&T Corp., 298

F.3d 756, 762–63 (9th Cir. 2002).

       The Court is also convinced that it should toll the 30-day period on the facts of this case.

Indeed, as further explained below, under the circumstances present here, any other

understanding of the 30-day requirement would be nonsensical. Brown makes only one

argument to the contrary: She contends that the Nationstar Defendants knew that the action was

mistakenly dismissed. They were present at the mediation at which she agreed to withdraw her

motions for injunctive relief in return for certain actions by the Nationstar Defendants, and they

knew that she never agreed to dismiss her claims for monetary relief. Dkt. 16 at 4–5. Because

the Superior Court’s order was merely intended to reflect the parties’ agreement, Brown

continues, they had to have known that it was entered in error.

       For present purposes, the Court accepts Brown’s description of the relevant events. But,

even assuming that the Nationstar Defendants knew that the Superior Court erred in dismissing

the action, including her claims for monetary relief, the fact remains that the action was

dismissed for almost four months. During that period of time, Defendants could not have

removed the action to this Court; the action was not pending and thus not subject to removal. In

this respect, the language of 28 U.S.C. § 1441(a) is plain. A civil action brought in state court—

or in the D.C. Superior Court—may be removed to the U.S. district court that embraced “the

place where such action is pending.” 28 U.S.C. § 1441(a) (emphasis added); see Murcia v. A

Capital Elec. Contractors, 270 F. Supp. 3d 39, 43 (D.D.C. 2017). Because Defendants could not

have removed the action while it was not pending, the Court concludes that the period of time

from the Superior Court’s entry of its order dismissing the action until its order vacating that

order and reinstating the action should be tolled. Whether that conclusion follows from an



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application of equitable tolling or from a commonsense understanding of the 30-day

requirement, the removal petition was timely.

       Brown’s second argument—that not all the defendants joined in or consented to the

removal—fares no better. Brown is correct that, for removal to be proper, each defendant must

consent to removal. 28 U.S.C. § 1446(b). But that rule comes with a proviso: it applies only to

those “defendants who have been properly joined and served.” Id. When in dispute, moreover,

“the burden lies with the plaintiff to prove proper service.” Busby v. Capital One, N.A., 932 F.

Supp. 2d 114, 128 (D.D.C. 2013); see also Light v. Wolf, 816 F.2d 746, 751 (D.C. Cir. 1987);

Hilska v. Jones, 217 F.R.D. 16, 20 (D.D.C. 2003). Brown has submitted evidence to the Court

that, in her view, satisfies this burden. See Dkt. 16-1 at 2–11. That evidence, however, merely

shows that some defendants who did not join in the removal petition were served with copies of

Brown’s motion for a temporary restraining order and notice of hearing on that motion. See id.

at 7–8. Significantly, the affidavits of service that Brown relies upon provide a place for the

server to indicate that the complaint was also served, and, in each instance, that box is not

checked. Id. at 2–5. Similarly, the certificate of service from the Texas Secretary of State that

Brown proffers only says that the Secretary served “a copy of the Notice of Hearing,” id. at 7,

and the affidavit of service on GE Capital Bank, likewise, shows only that a “Notice of Hearing;

Motion” was served on an “authorized local agent,” id. at 9. Brown also attaches documentation

from the U.S. Postal Service with respect to First Tennessee, but First Tennessee is one of the

removing defendants and thus consented to removal.

       The Court appreciates the fact that Superior Court granted Brown’s motion for leave to

proceed in forma pauperis and, more importantly, ordered that “the officers of the Court will

issue and serve all process.” Dkt. 1-2 at 14. The evidence of process provided to the Court,



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however, does not demonstrate that any defendant who failed to consent to the removal petition

was, in fact, served with the complaint. The language of the statute is clear: only “defendants

who have been properly joined and served must join in or consent to the removal of the action.”

28 U.S.C. § 1446(b)(2)(A). “[D]efendants who have not been properly served”—regardless of

the reason—“may be ignored . . . for the purpose of requiring their joinder in the notice of

removal.” Wright & Miller § 3730 at 462.

       The Court, accordingly, will deny Brown’s motion to remand.

B.     Motion to Dismiss

       Among other contentions, the Nationstar Defendants argue that Brown lacks standing to

pursue her pre-petition claims because she failed to disclose those claims when she filed for

bankruptcy in 2009. Because this defense goes to the Court’s subject matter jurisdiction, the

Court must address it before reaching any of the Nationstar Defendants’ merits defenses. Steel

Co. v. Citizens for Better Env’t, 523 U.S. 83, 93–95 (1998).

       “Because Article III limits federal judicial jurisdiction to cases and controversies, see

U.S. Const. art. III, § 2, federal courts are without authority” to decide disputes unless the

plaintiff has standing—that is, “a personal stake in the outcome of the controversy [sufficient] to

warrant his invocation of federal-court jurisdiction.” Chamber of Commerce v. EPA, 642 F.3d

192, 199 (D.C. Cir. 2011) (quoting Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009)

(emphasis omitted)). “In the context of [Chapter 7] bankruptcy proceedings, it is well

understood that ‘a trustee, as the representative of the bankruptcy estate, is the real party in

interest, and is the only party with standing to prosecute causes of action belonging to the estate

once the bankruptcy petition has been filed.’” Moses v. Howard Univ. Hosp., 606 F.3d 789, 795

(D.C. Cir. 2010) (quoting Kane v. Nat’l Union Fire Ins. Co., 535 F.3d 380, 385 (5th Cir. 2008)

(per curiam)). Because, “[g]enerally speaking, a pre-petition cause of action is the property of
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the Chapter 7 bankruptcy estate,” it follows that “only the trustee in bankruptcy has standing to

pursue it.” Id. (quoting Parker v. Wendy’s Int’l, Inc., 365 F.3d 1268, 1272 (11th Cir. 2004)).

Only if a trustee abandons its interest in any property of the estate, does that interest “revert[] to

the debtor.” Kane, 535 F.3d at 385.

       Abandonment by the trustee, however, requires that the debtor disclose the cause of

action as an asset. See Dalley v. Mitchell Rubenstein & Assocs., P.C., 172 F. Supp. 3d 6, 14

(D.D.C. 2016); Wissman v. Pittsburg Nat’l Bank, 942 F.2d 867, 873 (4th Cir. 1991), see also 11

U.S.C. § 554. That requirement holds, moreover, even after the bankruptcy proceeding is

concluded. As this Court has previously explained:

       The estate’s interest in this lawsuit . . . [does] not revert back to [the debtor] when
       the bankruptcy proceedings conclude[ ]. [In this respect], the bankruptcy code is
       explicit. In the case of a “scheduled” claim (that is, a claim which has been
       disclosed to the bankruptcy court), the trustee may knowingly decline to pursue it,
       at which point the cause of action may be treated as “abandoned to the debtor.” 11
       U.S.C. § 554(a),(c). Under those circumstances, the interest reverts to the debtor,
       who may then have standing to pursue the pre-petition claim in post-petition
       litigation. Moses, 606 F.3d at 795. But, “[u]nless the [bankruptcy] court orders
       otherwise, property of the estate that is not abandoned” in a manner prescribed in §
       554 “and that is not administered in the [bankruptcy proceeding] remains property
       of the estate.” § 554(d). Thus, because unscheduled claims are neither
       “abandoned” nor “administered,” they remain with the estate even after the close
       of the case. Parker, 365 F.3d at 1272.

McCain v. District of Columbia, 206 F. Supp. 3d 576, 582 (D.D.C. 2016). Here, there is no

dispute that Brown failed to disclose the pre-petition claims that she now seeks to assert when

she filed her bankruptcy case in 2009, and, as a result, she lacks standing to assert those claims in

this Court.

       Brown does not take issue with this understanding of the law, but merely contends that

she was unaware of her potential claims when she filed her bankruptcy petition and now seeks an

opportunity to return to bankruptcy court to address her omission. To date, she has moved for



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leave to reopen her case to schedule the omitted causes of action, Dkt. 28; has received leave to

do so from the bankruptcy court, Dkt. 29; and has filed an amended schedule, Dkt. 30. As the

bankruptcy court observed in granting her motion to reopen: If the previously undisclosed

claims “prove[] to have meaningful value, [they] should be administered by the trustee for the

benefit of the creditors,” and, if appropriate, the “trustee can be substituted as the real party in

interest” for purposes of pursuing those claims. Dkt. 29 at 8. This Court agrees that the

bankruptcy trustee should be allowed to investigate the causes of action, to decide whether they

merit further action, and, if not, to decide whether the claims should be abandoned to the debtor.

The Court will, accordingly, stay this action until the trustee decides how to proceed. In the

meantime, the Court will order that Brown file status reports with the Court every 60 days

informing the Court of the status of the bankruptcy proceeding.

C.      Post-Petition Claims

        Finally, Brown argues that her complaints also assert claims for alleged wrongdoing that

occurred after she filed her Chapter 7 petition. To be sure, the complaints do contain scattered

references to “continuing violations” over the course of “11 years . . . of mortgage statements.”

Dkt. 1-1 at 4; Brown, No. 17-cv-2102, ECF No. 1-1 at 6. In Brown’s view, these references are

sufficient to overcome the Nationstar Defendants’ statute of limitations defenses and the hurdle

posed by her 2009 bankruptcy petition. Dkt. 23 at 11–12. To the extent that Brown contends

that her complaints set forth distinct claims relating solely to post-petition wrongdoing, however,

the Court is unconvinced that she has satisfied the pleading requirements of Federal Rule of Civil

Procedure 8(a). But, in any event, because Brown’s post-petition claims, if any, are pled in a

manner that is intertwined with her pre-petition claims, the Court concludes that it is premature

to consider whether any post-petition claims might, standing alone, survive a motion to dismiss.

The Court will, accordingly, deny the Nationstar Defendants’ motion to dismiss Brown’s post-
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petition claims without prejudice. Once the bankruptcy trustee decides how to proceed,

Defendants can, as appropriate, renew those motions.

                                       CONCLUSION

       For the reasons stated above, Brown’s motion to remand, Dkt. 16, is DENIED; the

Nationstar Defendants’ motion to dismiss, Dkt. 12, is DENIED without prejudice pending

resolution of the reopened bankruptcy proceeding; Brown is ORDERED to file status reports

with the Court every sixty days, as described above, beginning on October 8, 2018; and the case

is otherwise STAYED pending further order of the Court.

       SO ORDERED.


                                                   /s/ Randolph D. Moss
                                                   RANDOLPH D. MOSS
                                                   United States District Judge

Date: August 8, 2018




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